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 5    Attorneys for:   Plaintiff Kimberly Barsamian
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 9                                   UNITED STATES DISTRICT COURT
10                                  EASTERN DISTRICT OF CALIFORNIA
11
12    KIMBERLY BARSAMIAN,                                    Case No. 1:07-cv-00316 OWW/GSA_
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14                     Plaintiff,                            ORDER RE: PLAINTIFF
                                                             KIMBERLY BARSAMIAN’S
15                                                           MOTION IN LIMINE NUMBER 2
              v.                                             TO EXCLUDE TESTIMONY OF
16
                                                             DONALD VAN BLARICOM
17                                                           REGARDING SCOPE OF
      CITY OF KINGSBURG, MARTIN                              EMPLOYMENT
18    SOLIS, individually and in his official
      capacity as a Police Officer for the City of
19    Kingsburg Police Department, and DOES
      1 through 100, inclusive.                              Trial Date: March 3, 2009
20
                                                             Time: 9:00 AM
21                     Defendants.                           Ctrm: 3
22
23            The Motion in Limine of Plaintiff Kimberly Barsamian, to Exclude Testimony of
      Donald Van Blaricom Regarding Scope of Employment, came on hearing before this Court,
24
      Attorney Peter N. Kapetan, appearing for Plaintiff, Kimberly Barsamian; Attorney Alfred A.
25
      Gallegos, appearing for Defendant City of Kingsburg; and Attorney Karen L. Lynch, appearing
26
      for Defendant Martin Solis.
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              After consideration of the briefs and arguments of counsel, and all to the Court,
28
                                                        1
                   ORDER RE: PLAINTIFF KIMBERLY BARSAMIAN’S MOTION IN LIMINE NUMBER 2 TO EXCLUDE
                        TESTIMONY OF DONALD VAN BLARICOM REGARDING SCOPE OF EMPLOYMENT
     Case 1:07-cv-00316-OWW-GSA Document 187 Filed 03/03/09 Page 2 of 2


            IT IS HEREBY ORDERED that Plaintiff’s Motion in Limine to Exclude Testimony of
 1
      Donald Van Blaricom Regarding Scope of Employment is GRANTED.
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      DATED: 3/2/2009
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                 ______________/s/ OLIVER W. WANGER_______________
 7                     UNITED STATES DISTRICT COURT JUDGE
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               ORDER RE: PLAINTIFF KIMBERLY BARSAMIAN’S MOTION IN LIMINE NUMBER 2 TO EXCLUDE
                    TESTIMONY OF DONALD VAN BLARICOM REGARDING SCOPE OF EMPLOYMENT
